Case 2:15-md-02641-DGC Document 9866-2 Filed 01/26/18 Page 1 of 3




                EXHIBIT A
     Case 2:15-md-02641-DGC Document 9866-2 Filed 01/26/18 Page 2 of 3




 1                        UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
 2            BEFORE THE HONORABLE ROBERT C. JONES, DISTRICT JUDGE
                                   ---o0o---
 3

 4       KEVIN PHILLIPS, an                :
         individual,                       :
 5                                         :
                         Plaintiff,        : No. 3:12-CV-344-RCJ-WGC
 6                                         :
                  -vs-                     : January 26, 2015
 7                                         :
         C.R. BARD, INC., a foreign        : Reno, Nevada
 8       corporation, et al.,              :
                                           :
 9                       Defendants.       :
                                           :
10

11                        TRANSCRIPT OF OPENING STATEMENTS

12

13      APPEARANCES:

14      FOR THE PLAINTIFF:             RAMON R. LOPEZ and TROY A. BRENES
                                       Attorneys at Law
15                                     Newport Beach, California

16                                     JULIA N. REED ZAIC
                                       Attorney at Law
17                                     Laguna Beach, California

18                                     PETER C. WETHERALL
                                       Attorney at Law
19                                     Las Vegas, Nevada

20      FOR THE DEFENDANTS:            RICHARD B. NORTH, JR., and
                                       MATTHEW B. LERNER
21                                     Attorneys at Law
                                       Atlanta, Georgia
22

23      Reported by:              Margaret E. Griener, CCR #3, FCRR
                                  Official Reporter
24                                400 South Virginia Street
                                  Reno, Nevada 89501
25      (Appearances continued on page 2.)



            MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                                (775) 329-9980
     Case 2:15-md-02641-DGC Document 9866-2 Filed 01/26/18 Page 3 of 3
                                                                            72



 1      needed this filter and why the complications occurred.

 2                   And then I want to describe briefly the plaintiff's

 3      burden.   As I said, they have the burden of proof, and the

 4      elements they have to show, and what the evidence says as to

 5      each of those elements.

 6                   And then I want to try to put several accusations

 7      you just heard in context, not just the sound bite, and tell

 8      you the whole story.

 9                   Who are the defendants?    C.R. Bard is a developer

10      and manufacturer of medical devices in various fields,

11      vascular, urology, oncology, surgical specialty, just to name

12      a few, biopsy products.

13                   Bard Peripheral Vascular is located in Tempe, as I

14      said.   They developed the filters, they make some stints.

15      They are one of the leading manufacturers in the country of

16      breast cancer biopsy products to help doctors in their

17      diagnoses.

18                   But Bard is not a corporate facility.      It is not

19      some huge, big building of profit takers as the plaintiff's

20      evidence and sound bites would have you think.

21                   Bard is made up of men and women who have studied,

22      who are engineers, marketing specialists.

23                   Janet Hudnall, who you will hear from, she was the

24      marketing director for this product for a period of time.

25      Even she, as a marketing person, had a degree in biology from



            MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                                (775) 329-9980
